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                                              #:1

                                                                 y- ` i
                                                                    1~     L~


 1
   Dan Andreiu, Plaintiff in propria persona
 2 Phone(310)414 7177
   Fax:(310)861 1600                                  125~~ ~~~1 Pty z~Z;
 3
   Email: dan@andreiu.com
                                                       ~..'~
 4 Mailing address: P.O. Box 93562,                              .. ,,w,: L:.;i
   Los Angeles, CA 90093                             ~,-.
 5

 6

 7

 8                           UNITED STATES DISTRICT COURT
 9
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
io
11
                                       WESTERN DIVISION

12

13   DAN ANDREIU,                                    ~~~~~~.~~O~i~~~Ss
                                                 Case No.    ""
14
      1 to 10,0000,000 included                  Verified CompTaint
15                                               Class Action Statue and Jury Trial
                                                 demanded
16                        Plaintiff,
                                                        1) Monopolistic Practices
i~
              vs.
18
                                                        2) Forced or Coerced Labor Under

19
     UBER TECHNOLOGIES,INC., ROSS                              Minimum Wage
20   DITLOVE,                                           3) Unlawful Termination
21
      1 to 10 included.                                 4) Fraud
22
                                                        5) Hostile Work Environment
23                        Defendant(s),
24                                                     6) Intentional Infliction of

25                                                             Emotional Distress
26
                                                        7) Breach of Contract
27

28


                                          Verified Complaint

                      Class Action Statue and Jury Trial demanded - 1
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 1    JURISDICTION AND VENUE
 2

 3       1. This Court has jurisdiction over this matter pursuant to 28 U.S.C.§ 1331, as the claims

 4          arise under federal law, including but not limited to violations of labor statutes and
 5
            antitrust laws.
 6
        2. Venue is proper in this district under 28 U.S.C.§ 1391, as Defendants conduct business

 8          in this district and the events giving rise to the claims occurred within this district.

 9
      THE PARTIES:
to
it
        • DAN ANDREIU,Plaintiff, is an award-winning inventor and filmmaker who has
12
            experienced financial hardship due to the Small Business Administration's refusal to
13

14          provide pandemic assistance. This refusal, contrary to Congressional instructions, was

15          based on his companies' classification as startups, rendering them ineligible for relief. As
16
            a result, Plaintiff was forced to work as an Uber driver to maintain financial stability
17
            while pursuing his startup projects. For the purposes of this complaint, Plaintiff operated
is
19          as an independent contractor providing services for Uber Technologies, Inc., Defendant,

20          an Internet ridesharing platform.
21
        • UBER TECHNOLOGIES,INC.(Uber), Defendant, claims to be an Internet services
22
            provider facilitating ridesharing services. However, Uber operates as a de facto ta~ci
23
            company—a near-monopoly employer~isguised as an Internet platform. Notably, Uber ~
24

25          provides commercial insurance to its drivers. Uber's "Terms of Service" constitute

26         fraudulent employment practices, enabling it to operate despite widespread complaints
27
            and ongoing litigation.
28

                                                Verified Complaint

                        Class Action Statue and Jury Trial demanded - 2
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 1       • ROSS DITLOVE, Defendant(Ross), is a Los Angeles County resident and venture
 2
              capitalist. On December 13, 2024, he requested delivery services from Uber
 3
              Technologies, Inc., which were performed by Plaintiff Dan Andreiu.
 4

 5
      THE FACTS:
 6

 7
      On Friday, December 13, 2024, at approximately 8:40 PM,Plaintiff received an Uber delivery
 8
      offer to deliver to Defendant Ross at 340 The Strand, Hermosa Beach, California. The quoted
 9
      price for this 16-minute delivery was $8.27, including an undisclosed tip from Defendant Ross.
10

11    Plaintiff, an independent contractor, accepted the delivery.

12
      The delivery location was a dark, obstructed driveway behind the residence, facing the ocean.
13

14    Following the Uber app's instructions (including a picture of the delivery location), Plaintiff

15    delivered the package to a door in an alleyway. This door resembled the one in the app, but the
16
      actual main entrance, obscured from the alley, was a similarly designed side entrance.
1~
18
      Plaintiff briefly waited, monitoring the Uber app. Suspecting a problem, he ensured proper
19
      delivery. He encountered Defendant Ross in the alley, who appeared confused. After Plaintiff
20
      indicated the package's location, Defendant Ross expressed frustration at the delivery location,
21

22    stating "Look again." Plaintiff, already departing, again showed the location, then left.

23
     Plaintiff subsequently learned that he received only $2.27 for the 16-minute delivery (see E~ibit~
24

25    1), using his $70,000 electric vehicle. An Uber message stated that the tip had been reduced to

26   ~ zero, despite the original quoted price of $8.27.
27

28

                                                 Verified Complaint

                          Class Action Statue and Jury Trial demanded - 3
     Case 2:25-cv-00520-SVW-SSC             Document 1       Filed 01/21/25      Page 4 of 23 Page ID
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 1    The following day, Plaintiff unexpectedly encountered Defendant Ross. When questioned about
 2
      the unpaid tip, Ross responded,"You got what you deserved" and "You are paid by Uber
 3
      anyway." Upon learning the actual amount Uber paid, Ross dismissively said, "Get a better
 4

 5
      job..."

 6
      Within minutes, Defendant Ross filed a complaint with Uber against Plaintiff(see Exhibit 2),

 8    resulting in Uber's immediate and unexplained disconnection of Plaintiffls account. Plaintiff is

 9    appealing this termination, citing Uber's arbitrary and abusive termination practices, which are
10
      now subject to legal challenge.
~1
12    Years prior, Plaintiff owned ahigh-end vehicle dealership (High End Cars, Inc.). However, he
13
      closed it to focus on his patented inventions, film projects, and other ventures. In 2013, he
14
      established an Uber driver account as financial insurance for periods oflow income related to
15

16
      ventures. Despite his qualifications and skills, his entrepreneurial endeavors necessitated income

1~    flexibility, a need uniquely met by Uber driving.
18

19
      The COVID-19 pandemic and SBA policies negatively impacted Plaintiffs startup ventures. In

20    2018, unauthorized access resulted in the disconnection of his Uber account. In 2020, he sought
21
      to use this account to meet his financial needs. Uber only reinstated his account in 2024 after
22
      Plaintiff engaged their legal department.
23

24
      Significantly, Plaintiff developed a business model similar to Uber's in the early 2000s, even
25
      registering HighEndLimo.com. His computer science degree underpinned his technological
26
      development. He chose to pursue other ventures, however. This demonstrates that Uber's
27

28    business model lacked originality.

                                                  Verified Complaint

                         Class Action Statue and Jury Trial demanded - 4
     Case 2:25-cv-00520-SVW-SSC             Document 1       Filed 01/21/25      Page 5 of 23 Page ID
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 1    Uber's business model, while seemingly technology-based, actually extracts roughly 70% of
 2
      driver earnings—far exceeding the initia120% required for system operation. This is enabled by
 3
      a large workforce of employees performing superficial tasks under the guise of safety, thus
 4

 5
      artificially inflating Uber's market valuation. This resembles Elon Musk's recent actions at

 6    Twitter, where significant staff reductions did not impair operational efficiency.
 7

 8    Uber leverages this "lip service" staff to manipulate drivers through its "Terms of Service,"

 9    creating a cycle ofthreats, reassignments, and terminations, forcing drivers to work below
10
      minimum wage. While Proposition 22 offered some relief, the fundamental problem persists:
11
      Uber drivers, as independent contractors, lack employee protections and rights, rendering them
12
      vulnerable to exploitation. Uber exerts complete control, establishing a de facto fiduciary
13

14    relationship and servitude, without employee benefits. Drivers face constant threats of

15    disconnection at whim for minor or invented infractions, working so in an environment of terror.
16

1~    Uber's practices constitute a fraudulent system maximizing profits at the expense of its drivers,
18
      creating tension between drivers and clients. When conflicts arise, drivers are readily terminated,~
19
      benefiting Uber while harming the drivers.
20

21
      Uber emerged as a way to empower the individual driver—and was perceived as such in its early
22
      days. Plaintiff saw it this way when he registered HighEndLimo.com with a similar intent.
23
     Since Plaintiff allowed others to pursue this opportunity two decades ago, he now feels a moral
24

25   responsibility to restore the original intent ofInternet-based ride-sharing. Unfortunately, it has

26   now turned into a novel way to enslave and exploit drivers to the maximum extent possible and
27
     ~ defraud American society of an entire segment ofthe economy that once provided an opportuni
28

                                                Verified Complaint

                         Class Action Statue and Jury Trial demanded - 5
     Case 2:25-cv-00520-SVW-SSC             Document 1        Filed 01/21/25       Page 6 of 23 Page ID
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 1    for any marginally skilled individual to earn a living. With novel concepts that do not exist in
 2
      established business law, such as "platforms," instead of businesses, Uber promotes "woke"
 3
      philosophy concepts like "safety," which serve as an excuse to exploit, intimidate and defraud
 4

 5
      the individual driver of his rights under the law as an independent contractor. This deprives him

 6    of the rights he would have as an employee, even though in practice, drivers are treated as
 7
      employees. Uber, Lyft Inc., have set the prices and all terms in minute detail through fraudulent
 8
      so-called "Terms of Service" that are imposed due to their monopolistic power. Uber is, in fact,
 9
      monopoly. By flexing its enormous financial and political muscle, Uber has managed to fool the
io
11    public into believing that it is alaw-abiding business. A "platform" is not a business entity, but

12    rather Uber's creation to evade its responsibilities under the law. Yet, Uber claims it is a
13
     corporation and asserts that it does business with drivers as independent contractors while
14
     controlling every aspect of the business relationship through its "Terms of Service." These terms
15
     create a fiduciary duty, making drivers effectively employees without offering them any rights
16

l~   under the law.

18

19
     Uber changes drivers with its so-called "Terms of Service" almost weekly, yet it takes an

20   individual a week to properly review them. Drivers have no other choice but to accept these
21
     terms. Uber uses its monopolistic power to force drivers to comply, rendering these ever-
22
     changing "Terms of Service" void and null. Drivers have no chance to negotiate these terms,
23
     while Uber claims that drivers are independent contractors. In reality, drivers are forced to work
24

25   under conditions that deprive them oftheir right to earn a federally recognized minimum wage,

26   taking into account their using own tools (vehicles), vehicle expenses, and downtime while
27
     waiting for passengers or packages.
28

                                                Verified Complaint

                          Class Action Statue and Jury Trial demanded - 6
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 1    Uber publicly claims that it makes no profit, but the obvious reality is that it makes huge profits,
 2
      as seen in its new and impressive headquarters.
 3

 4    The astonishing fact is that Uber, Lyft Inc., and similar companies receive government subsidies
 5
      for using electric vehicles—vehicles that drivers pay for through rental companies at market
 6
      price. Uber exploits these subsidies, claiming the vehicles are "theirs" in the context of the

 s    relationship with drivers while pocketing the subsidies with drivers' tax money. This creates a

 9    situation where drivers are paying for the vehicles themselves, using their own tax money to pay
10
      for their small income, while Uber pockets all the profits, claiming control and ownership on top
11
      of it. This is an amazing occurrence that largely goes unnoticed.
12

13
      Having driven for Uber and Lyft, Plaintiff determined that Uber and Lyft pocket all the revenue
14
     from customers, while drivers are paid with their own tax money through various programs, like
15

16
     ~ transportation for senior citizens or clean energy initiatives.

17
      Uber and Lyft set the prices on their platforms, and in 2024, there was an attempt at a strike by
18

19   ~ drivers due to the steadily decreasing rates. This coincided with the Biden administration's

20   of allowing a surge of immigrants, who compete for these entry-level jobs, further reducing
21
      wages for American citizens. Uber and Lyft are exploiting this fraudulent migration to transform
22
     low-skilled American workers into virtual slaves, deprived oftheir rights under the law, as
23
     described above, and coerced to work for less than the federally recognized minimum wage.
24

25
     CAUSES OF ACTION
26

27

28


                                                 Verified Complaint

                          Class Action Statue and Jury Trial demanded - 7
     Case 2:25-cv-00520-SVW-SSC            Document 1         Filed 01/21/25       Page 8 of 23 Page ID
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 1       1. Breach of Contract: Defendant Ross breached the contract by failing to pay the agreed-
 2
            upon tip for a successfully completed delivery. The delivery was fully completed, and
 3
            Plaintiff took extra steps to ensure Ross received the package. Withholding the full
 4

 5
            agreed-upon tip constitutes a breach of contract and an abuse of discretion.

 6      2. Intentional Infliction of Emotional Distress: Defendant Ross intentionally caused
 7
            emotional distress through humiliating and belittling remarks, and failure to pay the
 8
            promised tip. His subsequentjudgmental comments about Plaintiffs financial situation
 9
            indicate deliberate intent to inflict harm. It is notable that Ross, a venture capitalist,
10
11          profits from ventures similar to those Plaintiff is developing.

12      3. Wrongful Termination: Defendant Uber wrongfully terminated Plaintiff's account
13
            without cause, in retaliation for Defendant Ross's complaint. This is a direct result of
14
            Uber's exploitative and abusive business practices.
15
        4. Fraud: Uber claims it needs to take about 70% of driver income to operate the business,
16

i~          but in fact, Uber hires a redundant army of employees who perform minimal tasks. These ~

18          employees oppress and coerce drivers while Uber arbitrarily disconnects drivers through
19
            its "security department" to maximize profits. In 2020, Plaintiff tried for two years to
20
            reach Uber's "security department" to present his side ofthe story, without success.
21

22          Uber's disconnection decisions are arbitrary, secretive, and final. Only after engaging

23         their legal department was Plaintiff able to argue for reinstatement. Most drivers lack the ~
24
           legal sophistication to challenge Uber's arbitrary practices.
25
        5. Hostile Work Environment: The purpose of Uber's army of"lip service" employees is
26
           to coerce drivers into working for less than the federally recognized minimum wage
27

28          while brainwashing them with "woke" excuses to justify exploitation. Lyft, for example,

                                               Verified Complaint

                        Class Action Statue and Jury Trial demanded - 8
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 1           uses pleasant driving instructions heard by both drivers and passengers. Uber, in contrast,
 2
             instructs drivers to use an earpiece so only the driver hears commands, which are often
 3
             demeaning and abusive.
 4

 5
         6. Forced or Coerced Labor Under Minimum Wage: Plaintiff was coerced into

 6           providing labor under the federally recognized minimum wage considering that he had to
 7
             pay for the rental vehicle provided by Uber and the downtime while waiting for
 s
             passengers/packages.
 9
         7. Monopolistic Tactics: Uber is a monopoly that uses its power to impose "Terms of
10

11           Service" that change frequently, leaving the Plaintiff with no realistic opportunity to

12           review or negotiate these terms. Uber imposes prices that drivers, as independent
13
             contractors, are forced to accept.
14

15    PRAYER
16

17    Plaintiff DAN ANDREIU requests judgment against the defendants:

18

19
         1. Against Defendant Ross: $6 in compensatory damages for breach of contract;

20          $1,000,000 in punitive damages for intentional infliction of emotional distress;
21
            $1,000,000 in compensatory damages for loss of income due to abusive actions; and
22
            $10,000,000 in punitive damages for malicious intent to punish Plaintiff.
23
         2. Against Defendant Uber: $2,000,000 in compensatory damages for wrongful
24

25          termination (in two separate incidents); $10,000,000 in punitive damages for malicious

26          intent to instill fear and control its drivers through deceptive justifications.
27

28

                                                  Verified Complaint

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 1       3. Against Defendant Uber: Restauration of Plaintiffls account on Defendant Uber
 2
             ridesharing platform, permanently disconnected on January 6, 2025,(see Exhibit 3).
 3
         4. Request for Injunction Regarding Independent Contractor Pricing
 4

 5
          Plaintiff realleges and incorporates by reference all preceding paragraphs.
 6
          Plaintiff requests that the Court issue an injunction ordering Defendant Uber Technologies,

 s        Inc. to allow drivers, as independent contractors, to determine the hourly rate or price they

 9        are willing to accept for their services on the Uber platform. Currently, Uber, using its
10
          monopolistic power, sets prices, which undermines the drivers' rights to set their own rates
11
          as independent contractors. Plaintiff asserts that this practice is inconsistent with the legal
12
          status of drivers as independent contractors, and that the market should determine the value
13

14        of drivers' work rather than Uber setting prices. As a result, Plaintiff requests that the Court

15        mandate Uber to allow drivers to establish their own rates for services rendered on the
16
          platform.
l~
18       5. Request for Injunction Regarding Driver Control Over Pricing and Independent
19
            Contractor Status
20

21
            Plaintiff realleges and incorporates by reference all preceding paragraphs.
22
            Plaintiff further requests that the Court issue an injunction requiring Uber Technologies,
23
            Inc. to allow drivers, as independent contractors, to have the ability to set their own prices
24

25          for their services on the platform. Plaintiff asserts that under the law, drivers must retain

26          the ability to negotiate and establish their rates, and that Uber's practice of dictating
27
            prices constitutes an unlawful interference with the drivers' legal rights. Furthermore,
28

                                                Verified Complaint

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 1           Plaintiff contends that Uber, through its monopoly power, is violating the independence
 2
            of the contractors, as Uber is unlawfully controlling the pricing structure and preventing
 3
            drivers from exercising their rights under their independent contractor status.
 4

 5
         6. Request for Injunction Allowing Direct Client-Driver Interaction
 6

 7
            Plaintiff realleges and incorporates by reference all preceding paragraphs.
 8
            Plaintiff requests that the Court issue an injunction mandating that Uber Technologies,
 9
            Inc. allow customers (clients) to select or reserve services from a particular driver at a
io
11          specific time, rather than prohibiting such arrangements. Plaintiff asserts that Uber, as a

12          platform, should not be controlling the client-driver relationship to the extent it does.
13
            While Uber claims it is merely a platform and not an employer, Uber's actions in
14
            restricting the ability of clients to select specific drivers or schedule time with them are
15

16
            an unlawful interference with the independent relationship between clients and drivers.

17          Plaintiff asserts that as independent contractors, drivers should have the option to work

18          directly with customers without interference from Uber, and that Uber's refusal to allow
19
            such arrangements is inconsistent with the platform's supposed neutrality. Moreover,
20
            Uber's refusal to permit cash payments between drivers and clients further restricts this
21

22          independent relationship and is an unlawful interference. Plaintiff requests an order

23          allowing drivers and clients to engage in direct transactions, including allowing cash
24
            payments and eliminating Uber's interference in those transactions, with the exemption
25
            of Uber collecting at some point the agreed fee for Uber platform's services.
26

27
         7. Request for Injunction Regarding Judicial Review Before Permanent Disconnection ~
2e

                                               Verified Complaint

                       Class Action Statue and Jury Trial demanded - 11
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 1            Plaintiff realleges and incorporates by reference all preceding paragraphs.
 2
              Plaintiff requests that the Court issue an injunction requiring Uber Technologies, Inc. to
 3
              provide drivers with the option of having offered contracts with speculated mandatory
 4

 5
             judicial review before any permanent disconnection or removal from the platform.

 6            Currently, Uber has the unilateral ability to disconnect drivers without providing

 7
              sufficient due process or the opportunity for drivers to challenge such disconnections.
 8
             Plaintiff asserts that this practice is unfair and does not provide adequate protections for
 9
              independent contractors. Therefore,the Plaintiff seeks an order requiring that any
to
11            disconnection from the Uber platform be governed by a contract stipulating

12           arbitration by a third party,followed by mandatory judicial review, to ensure
13
             fairness and due process for drivers, as independent contractors.
14

15

16

1~    DEMAND FOR JURY TRIAL
18

19           Plaintiff hereby demands a trial by jury on all issues so triable.

20
      CLASS ACTION DEMAND
21

22
      Plaintiff, Dan Andreiu, in his capacity as Plaintiff in pro per, demands the certification of this ~
23

24
      action as a Class Action pursuant to Federal Rule of Civil Procedure 23, and further states as

25    follows:
26

27        1. Class Definition:

28           This class action is brought on behalf ofthe following individuals:

                                                Verified Complaint

                         Class Action Statue and Jury Trial demanded - 12
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 1              o   All Uber and Lyft drivers who were not paid the tip promised by the platform
 2
                    upon accepting a ride or delivery, or who were not paid for services rendered in
 3
                    accordance with the platform's policies.
 4

 5
                o   All Uber and Lyft drivers who have been subjected to an imposition of a

 6                  fiduciary duty under the "Terms of Service" by the Defendants.

 7
               o    All Uber and Lyft drivers who have experienced psychological abuse,
 8
                    harassment, or coercion through constant, threatening messages from the
 9
                    platform, which are effectively orders under the threat of disconnection from the
10
11 I                platform, at Defendants' Uber whim!

12       2. Numerosity:
13
            The proposed class is so numerous that individual joinder of all members is
14
            impracticable. The class is estimated to include thousands to millions of drivers who
15
            have been subjected to the conditions described herein.
16

1~       3. Commonality:

18         There are questions of law and fact common to the class, including but not limited to:
19
               o    Whether Defendants' practices regarding tips violate the rights of drivers under
20
                    applicable federal and state wage laws.
21

22             o    Whether Defendants' "Terms of Service" impose an unlawful fiduciary duty on

23                  drivers, or violate their rights as independent contractors.
24
               o    Whether Defendants' messaging practices constitute psychological abuse or
25
                    harassment under applicable labor and consumer protection laws.
26
               o    Whether Defendants' threat of disconnection without due process violates drivers'
27

28                  rights to fair treatment.

                                                Verified Complaint

                        Class Action Statue and Jury Trial demanded - 13
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 1        4. Typicality:
 2
             The claims of the Plaintiff are typical ofthe claims of the class, as all class members haul
 3
             been subjected to the same or similar unlawful practices.
 4

 5
          5. Adequacy:

 6           Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has no

 7
             conflict of interest with the class members and will vigorously pursue this action.
 8
         6. Predominance and Superiority:
 9
             The common legal and factual issues in this action predominate over any individual
10

11           issues, and a class action is superior to other available methods for the fair and efficient

12           adjudication ofthis controversy.
13

14    Plaintiff respectfully requests that the Court certify this matter as a class action and

15    proceed with the litigation on behalf of the class as defined above.
16

17

18

19    Dated this January 10,2025.

20
      Respectfully sub 'tted,
21

22

23

24

25

26    DAN ANDREIU
      Plaintiff, Pro Se
27
      Phone:(310)414-7177
28    Mailing address: P.O. Box 93562, Los Angeles, CA 90093

                                                Verified Complaint

                        Class Action Statue and Jury Trial demanded - 14
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 1

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 3

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 5

 6

 7
                                    VERIFICATION
 8

 9
      I,DAN ANDREIU,certify under penalty of perjury under the laws ofthe State of California that
io
      the facts stated in this Complaint are true and correct to the best of my knowledge, and that the
11    Exhibits and Attachments are true copies ofthe originals.

12

13
      Dated this January 10,2025.
14

15

16
                 f
17

18

19    DAN ANDREIU
      Plaintiff, Pro Se
20

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                                              Verified Complaint

                          Class Action Statue and Jury Trial demanded - 15
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    1
                                Exhibit 1
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        5:257                               .~1 5G~   ~~



    ~ Trip DetaiIs                                    u


                        F~~Mmosa Beach



                                              ~:
                                                           PN',
                            6•i    ,~, ~-



   Duration                 Distance
   16 min 42 sec            0.90 mi


          RYLA

          The Strand. Hermosa Beach, CA 90254-
          5051, US



    ♦     3 points earned




   Your earnings
   Fare                                      $2.27


     Base                                    $2.27


   Your earnings                             $2.27
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       5:251                            .~11 5G~   ~~



    F Trip Details                                 ~J


   Delivery •Dec 13, 2024.841 PM

   ~~.~~


     The estimate for this trip was $8.27
     i ncluding any upfront tip —but the
     customer reduced the tip after delivery.




                      1-' --mosa Beach




                          &1       ~;                   PN~
                                                         '



   Duration               Distance
   16 min 42 sec          0.90 mi


        RYLA

        The Strand, Hermosa Beach, CA 90254-
        5051, US



   ♦    3 points earned
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 1

 z                           Exhibit 2


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                                      Verified Complaint

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Fw: A message from Uber

        dan highendcars.com
        Dan Andreiu
        Sat, Dec 14, 2024, 9:10 PM




Get Outlook for iOS

From: Uber Support <contact_01316fb4-5d2b-480f-9b30-d374e56f139b@email-support.uber.com>
Sent: Saturday, December 14, 2024 2:43:47 PM
To: dan highendcars.com <dan@highendcars.com>
Subject: A message from Uber




            NO RESPONSE NEEDED

            A message from U ber
            H i Dan,

            We're contacting you following some feedback we received about one of
            your delivery on December 13th, 2024. A customer gave feedback that an
            argument with you made them feel uncomfortable.

            We wanted to share this feedback with you and emphasize the importance
            of remaining respectful while using the app, per our Community
            Guidelines. Multiple reports like this may result in losing access to the
            U ber app.lf you disagree with this feedback, you're welcome to share your
            own feedback by replying to this message. If you have a relevant
            recording, let us know and we can share a link that will let you upload your
            recording.


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    You can record your order delivery with the app. In some areas, we'll let
    your customer know that the order is being recorded to help encourage
    respect and prevent false accusations. If you ever report a safety issue,
    you can choose to include a recording. Our Support team can only review
    recordings that you attach to a report. Go to this resource to learn more
    about your recording options and how to set it up.

    Thank you for your understanding.




    This message was sent by Haogoumang from Uber support. Continue this conversation by replying
    to this email or clicking on the above button.



    Have questions? Visit our Hel          nt r.




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                                           #:22



   1.

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                                Exhibit 3
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                                         Verified Complaint

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 i
         Account deactivated
 9         e Reason
                                                     0
io           U nsafe behavior

li
12
         Appeal denied
13
         Appeal Receipt ID: 25-F580-FFD7 ~J
14
         We reviewed your appeal, and your account
15
         will remain deactivated.
16
                  Account deactivated
l~          •     Dec 15, 2024

18
                  Appeal submitted
i9          •     Dec 15, 2024
20
                  Agent assigned
~1          •     Jan 6, 2025
22
                  Appeal denied
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            Q     Jan 6, 2025
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                                        Verified Complaint

                      Class Action Statue and Jury Trial demanded - 21
